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                                       AFFIDAVIT
        I, Jae S. Park, depose and say under penalty of perjury:

                                       Introduction
        1.       I make this affidavit in support of an application for a criminal

complaint against HUNTER VANPELT, a/k/a ELLEN CORKRUM, a/k/a

ELLEN YABBA KWAME CORKRUM (“VANPELT”), charging a violation of

Title 18, United States Code, Section 1344 (bank fraud). The investigation relates

to a false and fraudulent application for a Paycheck Protection Program (“PPP”)

loan.

                                   Agent’s Background
        2.       I have been employed as a Special Agent with the Federal Bureau of

Investigation (“FBI”) since December 2010. I am currently assigned to the

Complex Financial Crimes Squad of the FBI’s Atlanta Field Division, which

investigates violations of federal laws, including wire fraud, mail fraud, financial

institution fraud, and money laundering.

        3.       During my employment with the FBI, I have conducted numerous

investigations of criminal enterprises and individuals involved in violations of

federal laws, including the sale and distribution of controlled substances, fraud,

money laundering, firearms trafficking, and human trafficking. After being

assigned to the Complex Financial Crimes Squad, I have investigated individuals

who committed various types of fraud offenses. During such investigations, I
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conducted physical and electronic surveillance, reviewed bank account records

and other financial records, and executed search and arrest warrants. I received

a significant amount of formal training in various aspects of federal criminal

investigations including physical surveillance, legal statutes and procedures,

money laundering techniques, confidential human source management,

electronic surveillance techniques, and federal wiretap operation.

      4.       I am authorized to investigate violations of the laws of the United

States and execute warrants issued under the authority of the United States. I am

duly authorized by Title 18, United States Code, Section 3063, to carry firearms,

to execute and serve any warrant or other process issued under the authority of

the United States, and to make arrests without warrants for any offense

committed in my presence or any felony offense for which I have probable cause

to believe that the person to be arrested has committed or is committing.

      5.       I am one of multiple agents assigned to investigate PPP loan

applications submitted on behalf of entities associated with VANPELT.

      6.       The information contained in this affidavit is submitted for the

purpose of demonstrating probable cause to obtain a criminal complaint

charging that, on or about April 30, 2020, in the Northern District of Georgia, and

elsewhere, HUNTER VANPELT, a/k/a ELLEN CORKRUM, a/k/a ELLEN

YABBA KWAME CORKRUM, did knowingly, with intent to defraud, execute
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and attempt to execute a scheme and artifice (1) to defraud a financial institution,

the deposits of which were each then insured by the Federal Deposit Insurance

Corporation, and (2) to obtain moneys, funds, and assets owned by and under

the custody and control of a financial institution, the accounts of which were

insured by the Federal Deposit Insurance Corporation, by means of materially

false and fraudulent pretenses, representations, promises, and omissions, in

violation of 18 U.S.C. § 1344.

      7.       The statements in this affidavit are based on my personal

knowledge, training, education, and experience, and on information I have

received from other law enforcement personnel and persons with knowledge of

relevant facts. Because this affidavit is being submitted for the limited purpose

of securing a criminal complaint, I have not included each and every fact known

to me concerning this investigation. Rather, I have set forth only those facts that

I believe are necessary to establish probable cause for the requested complaint.

                             Investigative Background

      8.       FBI and Federal Housing Finance Agency – Office of Inspector

General agents have been investigating applications for PPP loans submitted on

behalf of seven entities associated with VANPELT. The amounts requested in the

seven PPP loan applications, which were submitted between in or around April
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2020 and in or around June 2020, totaled approximately $8,578,556, of which,

approximately $6,652,031.50 was disbursed:

         PPP                 Date     Claimed   Claimed       Loan            Loan
       Applicant                        # of      Avg        Amount          Amount
                                       Emp.     Monthly      Sought          Received
                                                Payroll

Georgia Nephrology        4/27/2020        12    $197,951       $494,877        $494,877
Physician Associated

United Healthcare         4/30/2020        31    $230,849       $577,122        $577,122
Group & Co.

Aburi Holdings Limited    5/5/2020         34    $253,986       $634,965        $634,965

Nephrology Network        5/13/2020        86    $659,342     $1,648,355      $1,648,355
Group

First Corporate           5/14/2020        86    $659,342     $1,648,355      $1,648,355
International

Corkrum Consolidated      6/16/2020        91    $770,610     $1,926,525              $0
Inc.

Kiwi International Inc.   6/17/2020        86    $659,343   $1,648,357.50   $1,648,357.50

                                                TOTALS:       $8,578,556    $6,652,031.50



      9.       Among other PPP loan applications, on or about April 30, 2020,

VANPELT submitted a PPP loan application seeking approximately $577,122 on

behalf of an entity known as United Healthcare Group & Co. (“United

Healthcare”).

      10.      The investigation has revealed that the PPP loan application

submitted by VANPELT on behalf of United Healthcare contained false and
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fraudulent information including, but not limited to, the number of employees

this entity purportedly employed and the average monthly payroll of this entity.

      11.   Purported Internal Revenue Service (“IRS”) tax records and a bank

account statement submitted in support of the United Healthcare PPP loan

application also contained false and fraudulent information that was material to

the issuance of the PPP loan.

      12.   In addition, after fraudulently obtaining the PPP loan proceeds on

behalf of United Healthcare, VANPELT moved the funds between bank accounts

associated with various entities, and conducted other financial transactions, in

order to, among other things, conceal the fact that VANPELT was not using the

loan proceeds for payroll expenses.

                       The Paycheck Protection Program

      13.   The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act

is a federal law enacted in or around March 2020 and designed to provide

emergency financial assistance to the millions of Americans who are suffering

the economic effects caused by the COVID-19 pandemic. One source of relief

provided by the CARES Act was the authorization of up to $349 billion in

forgivable loans to small businesses for job retention and certain other expenses,

through a program referred to as the Paycheck Protection Program. In or around

April 2020, Congress authorized over $300 billion in additional PPP funding.
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      14.    In order to obtain a PPP loan, a qualifying business must submit a

PPP loan application, which is signed by an authorized representative of the

business. The PPP loan application requires the business (through its authorized

representative) to acknowledge the program rules and make certain affirmative

certifications in order to be eligible to obtain the PPP loan. In the PPP loan

application, the small business (through its authorized representative) must

state, among other things, its: (a) average monthly payroll expenses; and (b)

number of employees. These figures are used to calculate the amount of money

the small business is eligible to receive under the PPP. In addition, businesses

applying for a PPP loan must provide documentation showing their payroll

expenses.

      15.    A PPP loan application must be processed by a participating lender.

If a PPP loan application is approved, the participating lender funds the PPP loan

using its own monies, which are 100% guaranteed by Small Business

Administration (“SBA”). Data from the application, including information about

the borrower, the total amount of the loan, and the listed number of employees,

is transmitted by the lender to the SBA in the course of processing the loan.

      16.    PPP loan proceeds must be used by the business on certain

permissible expenses—payroll costs, interest on mortgages, rent, and utilities.

The PPP allows the interest and principal on the PPP loan to be entirely forgiven
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if the business spends the loan proceeds on these expense items within a

designated period of time after receiving the proceeds and uses a certain amount

of the PPP loan proceeds on payroll expenses.

                       Relevant Individuals and Entities

      17.   VANPELT is a resident of Roswell, Georgia. VANPELT is also

known as Ellen Corkrum and Ellen Yabba Kwame Corkrum. The investigation

revealed that VANPELT, a/k/a Ellen Corkrum, is a former government official

of Liberia. The investigation also revealed that Ellen Corkrum legally changed

her name in the State of Georgia to HUNTER VANPELT on or about July 13,

2016. Despite obtaining the purported name change, the investigation revealed

that VANPELT has continued to use the Ellen Corkrum name since that date.

Three of the PPP loan applications discussed above were submitted under the

name of VANPELT, while three others were submitted under the name Ellen

Corkrum, and one was submitted under the name of VANPELT’s son.

      18.   United Healthcare is a Georgia corporation incorporated by

VANPELT. VANPELT submitted a PPP application on behalf of United

Healthcare on or about April 30, 2020.

      19.   Bank 1 is a federally insured financial institution based in Salt Lake

City, Utah. Bank 1 is an SBA approved lender and has participated in the PPP as

a lender.
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       20.    Company 1 is an agent that pairs PPP applicants with lenders.

Company 1 collects applications and does certain underwriting and processing

for lenders. Company 1 then submits the loans to the lenders, such as Bank 1, for

funding.

       21.    Bank 2 is a federally insured financial institution headquartered in

San Francisco, California, with branch offices throughout the United States.

       22.    Bank 3 is a federally insured financial institution headquartered in

New York, New York, with branch offices throughout the United States.

                             Statement of Probable Cause

       23.    According to Georgia Secretary of State records, VANPELT

incorporated United Healthcare on February 26, 2019. VANPELT was also the

registered agent of United Healthcare. On April 29, 2020, an amended annual

registration was filed indicating that VANPELT was the registered agent, chief

financial officer, chief executive officer, and secretary of United Healthcare, and

the principal office address was changed from VANPELT’s home address to 2470

Windy Hill Road, Suite 300-5314, Marietta, Georgia 30067. An internet search of

the Windy Hill Road address revealed that it is Marietta Office Suites, a virtual office.

       24.    According to Bank 1 and Company 1 records, approximately one day

after the amended annual registration for United Healthcare was filed, on or about

April 30, 2020, VANPELT submitted SBA Form 2483 to apply for an
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approximately $577,122 PPP loan on behalf of United Healthcare. In the

application, VANPELT indicated that United Healthcare’s place of business was

at the same address as her residence and that she was the sole owner of United

Healthcare. VANPELT electronically signed and submitted the PPP application.

      25.   According to Bank 1 and Company 1 records, IP addresses

99.52.250.89 and 99.170.42.36 were used to submit the United Healthcare PPP

loan application.

      26.   According to AT&T records, Ellen Corkrum, VANPELT’s alias, has

been the subscriber for both IP addresses 99.52.250.89 and 99.170.42.36 since

August 2019, and the service address for both IP addresses, including as of the

date of the United Healthcare PPP application, matched VANPELT’s residence in

Roswell, Georgia.

      27.   The SBA Form 2483 submitted by VANPELT contained a list of

certification statements initialed by VANPELT, including the following:

      “The funds will be used to retain workers and maintain payroll or
      make mortgage interest payments, lease payments, and utility
      payments, as specified under the Paycheck Protection Program Rule;
      I understand that if the funds are knowingly used for unauthorized
      purposes, the federal government may hold me legally liable, such
      as for charges of fraud.”

      28.   In the PPP loan application submitted on or about April 30, 2020,

VANPELT claimed that United Healthcare had an average monthly payroll of

approximately $230,849 and 31 employees.
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      29.      In support of the PPP loan application, VANPELT submitted a

purported IRS Form 941 for each quarter of 2019. IRS Form 941 is an official

document that an employer files with the IRS every quarter in order to report

income taxes, Social Security taxes, and Medicare taxes withheld from

employees’ paychecks.

      30.      However, according to information provided by the IRS, the IRS has

no record of any Form 941 being filed on behalf of United Healthcare for any

quarter in 2019 and the first quarter of 2020.

      31.      In addition, the Georgia Department of Labor conducted a search of

its records and found no record that United Healthcare reported any wage

information from 2019 to the present.

      32.      In support of the PPP loan application, VANPELT also submitted a

purported February 2020 bank statement for a United Healthcare checking

account ending in 1093 (“United 1093”), which purported to be an account

statement issued and created by Bank 2. The purported United 1093 statement

submitted by VANPELT in support of the PPP application showed a $812,520.17

beginning balance, a $955,387.90 ending balance, and at least a dozen debits and

credits.

      33.      According to records produced by Bank 2, United Healthcare does

in fact have an account ending in 1093 at Bank 2. However, records for the
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United 1093 account produced by Bank 2 show the account statement submitted

by VANPELT to Bank 1 was falsified. According to records for the United 1093

account produced by Bank 2, the actual February 2020 statement for the United

1093 account showed a $15.00 beginning balance, a $5.00 ending balance, and

only one debit transaction.

      34.     In addition, the purported United 1093 statement submitted by

VANPELT in support of the PPP application included certain noticeable

discrepancies, among them: the type font used in the statement was

inconsistently bolded, and while the statement purported to be from February

2020, it listed the date of one of the transactions as “9/3” (as in September 3),

whereas all other transactions had a February date.

      35.     The PPP loan application for United Healthcare was approved. On

or about May 4, 2020, Bank 1 disbursed $577,122 to the United 1093 account at

Bank 2.

      36.     According to Bank 2’s records, the United 1093 account was opened

in March 2019. VANPELT has been the only signatory on the account.

      37.     On May 1, 2020, the United 1093 account balance was approximately

$45. On May 4, 2020, the account balance rose to approximately $577,167 after

the PPP loan was disbursed. On the next day, three transfers were completed,

namely: a $10,000 transfer to a credit union account ending in 8872 controlled by
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VANPELT (“VANPELT 8872”); a $15,000 transfer to a separate account at Bank 2

ending in 2669 associated with Aburi Holdings Limited (another VANPELT

company) (“Aburi 2669”); and a $10,000 transfer to a separate credit union

account associated with VANPELT’s mother. On May 6, 2020, another $5,000

was transferred to the VANPELT 8872 account and another $10,000 was

transferred to the credit union account associated with VANPELT’s mother.

      38.   The May 2020 account statement for the United 1093 account

showed that the PPP loan proceeds were used to make retail purchases at Publix

Super Market (approximately $22,146), Costco Wholesale (approximately $2,497),

and Sam’s Club (approximately $4,863). Some or all the purchases made by

VANPELT at Publix Super Market involved sending money to individuals living

in Liberia. As discussed above, Ellen Corkrum is a former government official of

Liberia.

      39.   In addition, approximately $13,110 was transferred using Western

Union and approximately $237,715.50 was withdrawn using a cashier’s check

payable to Kiwi International Inc. (another VANPELT company). The cashier’s

check was later deposited into an account at a separate financial institution, Bank

3, ending in 3611 and associated with Kiwi International, a purported “health

care sales” company (“Kiwi 3611”). According to Bank 3’s records, the Kiwi 3611

account was opened in late 2014 by Ellen Corkrum, VANPELT’s alias.
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      40.   The June 2020 account statement for the United 1093 account

reflected similar activities. On June 1, 2020, an approximately $22,000 check

payable to Corkrum Consolidated (another VANPELT company) was deposited

into another account at Bank 3, ending in 3083 (“Corkrum Consolidated 3083”).

The word “Payroll” was written in the memo section of the check. The check

was endorsed by “Ellen Corkrum.” Similarly, on June 8, 2020, a $61,855 check

payable to First Corporate International (another VANPELT company) with the

memo “Payroll” was issued. This check was later deposited into First Corporate

International’s account at Bank 3 ending in 6303 (“First Corporate 6303”).

      41.   According to Bank 3’s records, these checks were not used for the

purpose of payroll. The funds deposited into the Corkrum Consolidated 3083

account at Bank 3 remained in the account and the funds deposited into the First

Corporate 6303 account at Bank 3 were mostly used to make an approximately

$97,800 payment to American Express.

                                   Conclusion

      42.   Based on the above information, I respectfully submit there is

probable cause to believe that, on or about April 30, 2020, in the Northern District

of Georgia, and elsewhere, HUNTER VANPELT, a/k/a ELLEN CORKRUM,

a/k/a ELLEN YABBA KWAME CORKRUM, did knowingly, with intent to

defraud, execute and attempt to execute a scheme and artifice (1) to defraud a
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financial institution, the deposits of which were each then insured by the Federal

Deposit Insurance Corporation, and (2) to obtain moneys, funds, and assets

owned by and under the custody and control of a financial institution, the

accounts of which were insured by the Federal Deposit Insurance Corporation,

by means of materially false and fraudulent pretenses, representations, promises,

and omissions by presenting false IRS Forms 941 and a false bank statement in

support of and for the purpose of obtaining a Paycheck Protection Program loan,

in violation of 18 U.S.C. § 1344.

                                Request For Sealing

      43.    Because this investigation is ongoing, disclosure of this affidavit and

the requested criminal complaint could jeopardize the progress of the

investigation. Premature disclosure of the contents of this affidavit could alert

the target of the investigation and any potential co-conspirators or accomplices to

the status of the investigation to date and compromise the government’s on-

going investigation, such as by alerting the target and possibly leading the target

or potential co-conspirators or accomplices to flee or remove, destroy, or alter

evidence, and/or dissipate fraud proceeds, laundered funds, and other assets. In

particular, I believe that, were the contents of this affidavit to become public

prior to VANPELT’s arrest, there is reason to believe that VANPELT may flee. I

believe VANPELT is a citizen of Liberia (in addition to being a naturalized
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citizen of the United States), and VANPELT recently booked international travel

to Ghana. Accordingly, I respectfully request that this affidavit and the

requested criminal complaint be sealed until the arrest of VANPELT or further

order of this Court.
